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July 15, 2014

Hon. Cathy Seibel

United States District Judge

Federal Building and United States Courthouse
300 Quarropas Street, Courtroom 621

White Plains, New York 1060]

Re: The Wave Studio, LLC. v. General Hotel Management, et al.
Index No.: 7:13 CV 09239
Our File No.: 16555DZHIW
Dear Judge. Seibel:

This office represents the defendant, Delta Air Lines, Inc. s/h/a Delta Airlines, Inc. d/b/a
DELTA.COM (hereinafter “Delta’”) with regard to the above-referenced matter.

Subsequent to the filing of Delta’s answer to the first amended complaint on July 8, 2014,
we learned that the action was stayed as to most of the defendants, including Delta, until January
2015. Accordingly, please allow this correspondence to serve as a formal withdrawal of Delta’s
answer without prejudice.

Respectfully Submitted,

Baxter Smitft & Shapiro, P.C.

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